Case 24-16283-JKS           Doc 16     Filed 08/13/24 Entered 08/13/24 13:19:39        Desc Main
                                       Document     Page 1 of 2




  UNITED STATES BANKRUPTCY COURT
  FOR THE DISTRICT OF NEW JERSEY
  Caption in compliance with D.N.J. LBR 9004-1(b)

  McCARTER & ENGLISH, LLP
  Geoffrey E. Lynott, Esq.
  Four Gateway Center
  100 Mulberry Street
  Newark, NJ 07102
  Telephone: (973) 639-8471
  Facsimile: (973) 297-3823
  Email: glynott@mccarter.com

  Attorneys for M&T Bank

  In re:
                                                     Case No.: 24-16283 (JKS)
  JEAN-PAUL ROMES AND LISA A. ROMES,
                                                     Chapter 11
                            Debtors.
                                                     Hon. John K. Sherwood


           NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

           PLEASE TAKE NOTICE that Geoffrey E. Lynott, Esq. of McCarter & English, LLP,

hereby enters his appearance in the above-captioned case in accordance with Fed. R. Bankr.

P. 9010(b) for M&T Bank (“M&T”). Request is made that the documents filed in this case and

identified below be given and served upon the following person at the address, telephone, facsimile

number and e-mail address indicated below:

                                 McCARTER & ENGLISH, LLP
                                 Geoffrey E. Lynott, Esq.
                                 Four Gateway Center
                                 100 Mulberry Street
                                 Newark, New Jersey 07102
                                 Telephone: (973) 639-8471
                                 Facsimile: (973) 297-3823
                                 Email: glynott@mccarter.com




ME1 49414962v.1
Case 24-16283-JKS         Doc 16     Filed 08/13/24 Entered 08/13/24 13:19:39               Desc Main
                                     Document     Page 2 of 2


        DOCUMENTS:

             All notices entered pursuant to Fed. R. Bankr. P. 2002.

             All documents and pleadings of any nature.


        PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

subsequent appearance, pleading, claim or suit is intended to waive M&T’s (i) right to have final orders

in non-core matters entered only after de novo review by a United States District Court Judge; (ii) right

to a jury trial in any proceeding so triable herein, or in any case, controversy or proceeding related

hereto; (iii) right to have the reference withdrawn by a United States District Court Judge in any matter

subject to mandatory or discretionary withdrawal, including proceedings over which the Bankruptcy

Court lacks constitutional authority to enter final judgments; or (iv) other rights, claims, defenses,

setoffs or recoupments to which M&T is or may be entitled under agreements, in law or in equity, all

of which rights, claims, actions, defenses, setoffs and recoupments are expressly reserved.

Date: August 13, 2024                                   McCARTER & ENGLISH, LLP
      Newark, NJ
                                                        By: /s/ Geoffrey E. Lynott
                                                        Geoffrey E. Lynott
                                                        Four Gateway Center
                                                        100 Mulberry Street
                                                        Newark, NJ 07102
                                                        Telephone: (973) 639-8471
                                                        Facsimile: (973) 297-3823
                                                        glynott@mccarter.com

                                                        Attorneys for M&T Bank




ME1 49414962v.1
